        Case 22-05001-gs       Doc 38    Entered 07/28/22 11:33:20     Page 1 of 9




 1   MARK J. CONNOT (10010)
     COLLEEN E. McCARTY (13186)
 2   FOX ROTHSCHILD LLP
     1980 Festival Plaza Drive, Suite 700
 3   Ls Vegas, Nevada 89135
     Telephone: (702) 262-6899
 4   Facsimile: (702) 597-5503
     mconnot@foxrothschild.com
 5   cmccarty@foxrothschild.com
     Attorneys for Ahern Rentals, Inc. and Xtreme Manufacturing, LLC
 6

 7

 8                             UNITED STATES BANKRUPTCY COURT

 9                                       DISTRICT OF NEVADA

10    In re
                                                      Lease Case No. BK-19-50102-gs
11            DOUBLE JUMP, INC.,                      (Chapter 7)
                                                      Substantively consolidated with:
12                             Debtor.
13 _________________________________________             19-50130-gs     DC Solar Solutions, Inc.
                                                         19-50131-gs     DC Solar Distribution, Inc.
14            Affects Double Jump, Inc.                  19-50135-gs     DC Solar Freedom, Inc.
              Affects DC Solar Solutions, Inc.
15            Affects DC Solar Distribution, Inc.     Adversary No.: 22-05001-GS
              Affects DC Solar Freedom, Inc.
16
     ________________________________________         DEFENDANTS’ RESPONSE TO
17                                                    TRUSTEE’S MOTION TO STRIKE
     CHRISTINA W. LOVATO, Trustee,                    DEFENDANTS’ (1) JURY TRIAL
18                                                    DEMAND; (2) NON-CONSENT TO
                           Plaintiff,                 FINAL ORDERS AND JUDGMENTS;
19                  v.                                (3) REQUEST FOR FEES AND
                                                      COSTS; (4) CERTAIN AFFIRMATIVE
20   AHERN RENTALS, INC. and XTREME                   DEFENSES; AND (5) CERTAIN
     MANUFACTURING, LLC,                              INADEQUATE RESPONSES
21                                                    [DEFENDANTS’ ANSWER ECF NO.
                           Defendants.                29]
22
                                                      Hearing Date: August 11, 2022
23                                                    Hearing Time: 9:30 A.M.
24

25            Defendants Ahern Rentals, Inc. (“Ahern”) and Xtreme Manufacturing, LLC (“Xtreme,” or
26   collectively with Ahern, “Defendants”) hereby submit their Response to the Trustee’s Motion to
27   Strike Defendants’ (1) Jury Trial Demand; (2) Non-Consent to Final Orders and Judgments; (3)
28

     136280593
           Case 22-05001-gs        Doc 38   Entered 07/28/22 11:33:20        Page 2 of 9




 1   Request for Fees and Costs; (4) Certain Affirmative Defenses; and (5) Certain Inadequate Responses

 2   [the “Motion to Strike”; ECF No. 33]. In support, Defendants state as follows:

 3                                             INTRODUCTION

 4            The Trustee’s Motion to Strike seeks sweeping relief with respect to the Defendants’ relatively
 5   simple Answer filed in response to the Trustee’s Complaint seeking the recovery of alleged transfers
 6   in the amount of $33,098,817.36. The Trustee’s aggressive litigation tactics appear designed to
 7   browbeat Defendants into submission on the Trustee’s creative, yet meritless, claims. Nevertheless,
 8   Defendants are willing to relent on various of the Trustee’s requests in the Motion to Strike, while
 9   contesting others. Specifically, Defendants agree to withdraw their demand for a jury trial and
10   consent to this Court’s entry of final orders and judgments, but Defendants assert that the Trustee is
11   not entitled to the other requested relief in the Motion to Strike.
12                                                ARGUMENT
13   I.       DEFENDANTS WITHDRAW THEIR DEMAND FOR A JURY TRIAL AND
              CONSENT TO THIS COURT’S ENTRY OF FINAL ORDERS AND JUDGMENTS.
14

15            Although Defendants maintain that their original demand for a jury trial was appropriate,
16   Defendants hereby withdraw their demand for a jury trial and consent to this Court’s entry of final
17   orders and judgments.
18   II.      DEFENDANTS ARE ENTITLED TO REQUEST THEIR ATTORNEYS’ FEES AND
              COSTS IN THIS ACTION.
19

20            The Trustee seeks to strike Defendants’ request in their Prayer for Relief set forth in their
21   Answer [ECF No. 29] that Defendants “be awarded their full costs and reasonable attorneys’ fees
22   incurred herein.” As the Trustee acknowledges, the American Rule allows for recovery of attorneys’
23   fees by a litigant when a contract allows for such recovery. Motion to Strike p. 13 (citing Richardson
24   v. Alaska Airlines, Inc., 750 F.2d 763, 765 (9th Cir. 1984). Here, Defendants’ contracts with the
25   Debtor specifically allow for recovery of attorneys’ fees, and the contracts were attached to the proofs
26   of claim that the Trustee seeks to disallow in the Complaint.
27            Each of Ahern and Xtreme’s contracts with the debtor entities entitle the respective creditor
28   to recover attorneys’ fees:
                                                         2
     136280593
        Case 22-05001-gs        Doc 38     Entered 07/28/22 11:33:20         Page 3 of 9




 1           a)      Debtor DC Solar Solutions, Inc. (“Solutions”) executed and delivered that certain

 2   Credit Application/Customer Agreement dated August 8, 2013 (the “Ahern/Solutions Agreement”)

 3   to Ahern. A copy of the Ahern/Solutions Agreement is attached to Proof of Claim 2-1 in the Solutions

 4   case.

 5                a. Section 1(c) of the Ahern/Solutions Agreement provides that Solutions and guarantor,

 6                   “jointly and severally, hereby agree to pay any and all fees and costs, including

 7                   attorneys’ fees . . . incurred by Ahern in enforcing the terms and provisions of this

 8                   Agreement and/or in collecting any money owed to Ahern.”

 9                b. Section 1(e) of the Ahern/Solutions Agreement provides that Solutions “shall, to the

10                   fullest extent permissible by law, defend, indemnify and hold harmless Ahern, its

11                   employees and agents, from and against any and all losses, liabilities, damages,

12                   injuries, claims, demands, and costs and expenses of every character whatsoever

13                   including reasonable attorneys’ fees, associated with the use or rental of Ahern’s

14                   equipment or vehicles.”

15           b)      Solutions also entered into that certain Manufacturing Agreement with Xtreme dated

16   November 11, 2014 (the “Xtreme/Solutions Agreement”).               A copy of the Xtreme/Solutions

17   Agreement is attached to Proof of Claim 29-1 in the Solutions case.                 Section K of the

18   Xtreme/Solutions Agreement provides that Solutions “shall defend, indemnify and hold Xtreme [and

19   affiliates] harmless from any and all claims, demands, liabilities, actions, suits, proceedings, losses,

20   injuries, death including damages, judgments, expenses and/or costs (including without limitations

21   reasonable attorneys’ fees and related costs) based on or arising out of . . . (iv) any claims or demands

22   based upon [Solution’s] violation or alleged violation of any federal, state, or local laws or regulation

23   . . . or (v) any claims or demands arising out of a breach of the terms and conditions of this

24   Agreement.”

25           c)      Debtor DC Solar Distribution, Inc. (“Distribution”) executed and delivered that certain

26   Credit Application/Customer Agreement dated March 24, 2015 (the “Ahern/Distribution

27   Agreement”) to Ahern. A copy of the Ahern/Distribution Agreement is attached to Proof of Claim

28   1-1 and 2-1 in the Distribution case. Section 2(i) of the Ahern Agreement provides that Distribution
                                                        3
     136280593
         Case 22-05001-gs       Doc 38     Entered 07/28/22 11:33:20        Page 4 of 9




 1   “shall be liable for all collection costs actually incurred by [Ahern], including, but not limited to,

 2   reasonable attorneys’ fees and costs.”

 3          Here, the Trustee seeks to disallow Defendants’ respective proofs of claim against the Debtor

 4   entities. See Complaint Count VIII. As set forth in their Answer, Defendants deny that their claims

 5   should be disallowed and further assert that they should be allowed to include post-petition attorneys’

 6   fees in their proofs of claim. See e.g., SummitBridge Nat'l Invs. III, LLC v. Faison, 915 F.3d 288, 289

 7   (4th Cir. 2019)(holding that the bankruptcy code does not bar “a creditor from asserting an unsecured

 8   claim for attorneys’ fees, if those fees are incurred after the filing of a bankruptcy petition but

 9   guaranteed by a pre-petition contract.”)(citing Travelers Casualty & Surety Co. of America v. Pacific

10   Gas & Electric Co., 549 U.S. 443, 127 S.Ct. 1199, 167 L.Ed.2d 178 (2007)(where the US Supreme

11   Court rejected a Ninth Circuit rule disallowing claims for post-petition attorneys’ fees where those

12   post-petition fees were incurred while litigating issues of federal bankruptcy law). Therefore, the

13   Trustee’s request to strike Defendants’ attorneys’ fee request should be denied.

14   III.   DEFENDANTS HAVE PROPERLY PLEAD THEIR AFFIRMATIVE DEFENSES.
15          The Trustee asserts that certain of Defendants’ affirmative defenses should be stricken.

16   Motion to Strike, pp. 14 – 16. As a starting point, the court must consider the standard under which

17   affirmative defenses must be plead.

18          As to plaintiffs, Rule 8(a) 1 of the Federal Rules of Civil Procedure (“FRCP”), requires that a

19   complaint set forth “a short and plain statement of the claim showing that the pleader is entitled to
20   relief.” The United States Supreme Court expounded upon this rule in the twin cases of Bell Atlantic
21   Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009), in which the
22   Court held that a complaint does not suffice if it tenders merely “naked assertions” devoid of further
23   factual enhancement.
24          The standard as to defendants’ affirmative defenses, on the other hand, is set forth in Rule 8(c)
25   FRCP which requires that a defendant “affirmatively state any avoidance or affirmative defense . . .,”
26   which requires neither a “short and plain statement” nor any “showing” as required of plaintiffs.
27
     1
      Rule 8 FRCP is made applicable to bankruptcy adversary proceedings pursuant to Rule 7008 of the
28   Federal Rules of Bankruptcy Procedure.
                                                   4
     136280593
        Case 22-05001-gs       Doc 38     Entered 07/28/22 11:33:20         Page 5 of 9




 1   Controlling law in this district has held that the standards of Twombly and Iqbal do not apply to

 2   defendants asserting affirmative defenses. The Nevada district court analyzed the issue as follows:

 3                 “The key to determining the sufficiency of pleading an affirmative
                   defense is whether it gives plaintiff fair notice of the defense.”
 4
                   Wyshak v. City Nat'l Bank, 607 F.2d 824, 827 (9th Cir.1979) (citing
 5                 Conley v. Gibson, 355 U.S. 41, 47–48, 78 S.Ct. 99, 2 L.Ed.2d 80
                   (1957)). But there are differences between the respective pleading
 6                 standards of claims and defenses under Rules 8(a) and 8(c),
                   respectively. At least one district court has explicitly declined to
 7                 apply the Iqbal standards to a Rule 12(f) motion, reasoning that
 8                 Iqbal is based on the Supreme Court's reading of Rule 8(a), which
                   requires “a short and plain statement of the claim showing that the
 9                 pleader is entitled to relief,” but that the pleading standards for
                   affirmative defenses under Rule 8(c) simply requires them to be
10                 “affirmatively state [d].” See Bank of Beaver City v. Sw. Feeders,
                   L.L.C., No. 4:10CV3209, 2011 WL 4632887, at *5–6 (D.Neb. Oct.
11                 4, 2011). That court noted that the Eighth Circuit had found the bare
12                 assertion of a statute of limitations defense to be sufficient. See id.
                   at *6 (quoting Zotos v. Lindbergh Sch. Dist., 121 F.3d 356, 361 (8th
13                 Cir.1997) (quoting Daingerfield Island Protective Soc'y v. Babbitt,
                   40 F.3d 442, 445 (D.C.Cir.1994))). An “affirmative state[ment]”
14                 need not contain facts making the defense plausible, as under Iqbal,
                   because Rule 8(c) does not require a “showing,” as does Rule 8(a),
15                 but an affirmative defense must at least fairly identify the legal
16                 theory upon which it rests. See Tyco Fire Prods. LP v. Victaulic Co.,
                   777 F.Supp.2d 893, 900 (E.D.Pa.2011) (“In light of the differences
17                 between Rules 8(a) and 8(c) in text and purpose, the Court concludes
                   that Twombly and Iqbal do not apply to affirmative defenses. An
18                 affirmative defense need not be plausible to survive; it must merely
                   provide fair notice of the issue involved.”).
19

20                 As a matter of both fairness and efficiency, it seems improper to
                   permit a defendant to force a plaintiff to choose between ambush at
21                 trial and needless preparation for a myriad of potential affirmative
                   defenses consistent with a single broad affirmative defense in the
22                 answer. The purpose behind the contemporary reading of Rule 8(a)
                   is to prevent a plaintiff from extorting a settlement from a defendant
23
                   through the prospect of an expensive, extended discovery process
24                 predicated on threadbare claims that would be seen to be legally
                   insufficient if the actual circumstances of the alleged wrongdoing
25                 were even read, much less put to proof. This purpose would not be
                   served by imposing a more detailed pleading standard for
26                 affirmative defenses, because a plaintiff against whom an
                   affirmative defense is pled already desires to invoke the discovery
27
                   process and does not aim to avoid it. A lesser efficiency-related
28                 purpose would be served, because a more stringent pleading
                                                       5
     136280593
        Case 22-05001-gs        Doc 38     Entered 07/28/22 11:33:20          Page 6 of 9




                    standard for Rule 8(c) would save some costs by allowing a plaintiff
 1                  to better focus some of his pretrial practice, including discovery.
 2                  Still, because of the difference in language between Rules 8(a) and
                    8(c), the Court will leave it to the appellate courts to institute
 3                  something like a plausibility standard for Rule 8(c). Judge Robreno's
                    interpretation of Rule 8(c), that an affirmative defense need only
 4                  “provide fair notice of the issue,” is persuasive. See Tyco Fire Prods.
                    LP, 777 F.Supp.2d at 900. This standard saves the parties and the
 5
                    court some amount of wasted effort in cases where a broadly stated
 6                  affirmative defense can be divided into distinct legal theories, not
                    all of which necessarily apply, but it avoids the imposition of the
 7                  plausibility standard, which is based at least in part on the particular
                    language of Rule 8(a) requiring a “showing.” See Iqbal, 556 U.S. at
 8                  679, 129 S.Ct. 1937 (quoting Fed.R.Civ.P. 8(a)(2)) (alteration
                    removed).
 9

10   Rockwell Automation, Inc. v. Beckhoff Automation, LLC, 23 F. Supp. 3d 1236, 1241–42 (D. Nev.

11   2014); See also, Kohler v. Flava Enterprises, Inc., 779 F.3d 1016, 1019 (9th Cir. 2015)( “[T]he ‘fair

12   notice’ required by the pleading standards only requires describing the defense in ‘general terms.’”);

13   ESCO Corp. v. Cashman Equipment Co., 158 F. Supp.3d 1051, 1058 (D. Nev. 2016) (“The standard

14   for properly pleading an affirmative defense does not rise to the same level of pleading a cause of

15   action.”); Rosen v. Masterpiece Marketing Group, LLC, 222 F. Supp.3d 793, 802 (C.D. Cal. 2016)

16   (“Requiring defendants to satisfy the [Twombly and Iqbal] pleading standard within twenty-one days

17   of being served with a complaint neither accords with the language of Rules 8(c) and 12(f), nor

18   appears just as a matter of policy.”); Gomez v. J. Jacobo Farm Labor Contractor, Inc., 188 F. Supp.3d

19   986, 991-92 (E.D. Cal. 2016) (“This Court will not apply [Twombly and Iqbal] to determining the

20   sufficiency of affirmative defenses.”); Weintraub v. Law Office of Patenaude & Felix, A.P.C., 299

21   F.R.D. 661, 665 (S.D. Cal. 2014) (“Stating an affirmative defense under Rule 8(c), however, does not

22   require the pleader to ‘show’ entitlement to its defense.”); Kohler v. Staples the Office Superstore,

23   LLC, 291 F.R.D. 464, 468 (S.D. Cal. 2013) (“this Court declines to extend the [Twombly and Iqbal]

24   pleading standards to affirmative defenses”); Roe v. City of San Diego, 289 F.R.D. 604, 609 (S.D.

25   Cal. 2013) (“the Supreme Court’s analysis in [Twombly and Iqbal] is limited to pleadings under [Rule]

26   8(a)(2)”); Kohler v. Islands Restaurants, LP, 280 F.R.D. 560, 566 (S.D. Cal. 2012) (“this Court

27   declines to extend the [Twombly and Iqbal] pleading standards to affirmative defenses”).

28
                                                        6
     136280593
        Case 22-05001-gs        Doc 38      Entered 07/28/22 11:33:20         Page 7 of 9




 1          Based on the law set forth above, the Trustee’s position that Defendants are required to do

 2   more than state in plain terms the affirmative defenses on which they intend to rely is unsupported.

 3   The standards of Twombly and Iqbal do not apply to Defendants’ affirmative defenses, and the manner

 4   in which Defendants’ set forth their affirmative defenses is sufficient under Rule 8(c) FRCP.

 5          The Trustee further suggests that certain of Defendants’ affirmative defenses should be

 6   stricken because this Court denied Defendants’ motion to dismiss. Motion to Strike pp. 14-15. To

 7   the contrary, Defendants may be required to continue to assert their defenses set forth in their Motion

 8   to Dismiss or else risk losing their rights to appeal on these issues. See e.g., Terry v. Unified Gov't of

 9   Wyandotte Cnty./kansas City Kansas, No. 09-2094-EFM-DWB, 2009 WL 10687926, at *1 (D. Kan.

10   Dec. 21, 2009)(finding defenses not plead in Answer were waived).

11          Finally, the Trustee asserts that Defendants’ equitable defenses, including setoff and

12   recoupment, should be stricken. The Trustee acknowledges that she has asserted an equitable claim

13   of unjust enrichment and appears to acknowledge that equitable defenses are appropriate in defending

14   an equitable claim. Motion to Strike, p. 16 (“Save one count, the Trustee has brought solely statutory

15   claims for which the defenses are explicitly identified in the statute.”). Inexplicably, the Trustee asks

16   the court to ignore her claim for unjust enrichment and strike all of Defendants’ equitable defenses.

17   As long as the Trustee continues to assert equitable claims, Defendants are entitled to assert equitable

18   defenses. See e.g., Chitkin v. Lincoln Nat. Ins. Co., 879 F. Supp. 841, 853 (S.D. Cal. 1995)(“This

19   Court finds that simple logic and principles of due process of law support the proposition that litigants

20   must be able to raise equitable defenses to equitable causes of action.”).

21          Therefore, the Trustee’s request to strike certain of Defendants’ affirmative defenses should

22   be denied.

23   IV.    DEFENDANTS’ RESPONSES                   TO       THE    COMPLAINT          ARE     ADEQUATE
            PURSUANT TO THE RULES.
24

25          Finally, the Trustee claims that certain of Defendants’ responses are “inadequate” because

26   they do not simply admit or deny the allegations. Motion to Strike pp. 16 – 17. Specifically, the

27   Trustee complains of Defendants’ responses to the allegations addressing the transfers allegedly made

28
                                                         7
     136280593
        Case 22-05001-gs        Doc 38     Entered 07/28/22 11:33:20        Page 8 of 9




 1   by the Debtors to Defendants in which Defendants acknowledge that Debtors “made certain

 2   payments” to the Defendants.

 3           The Trustee boldly states that “Rule 8(b)(2) states that Defendants may only ‘admit or deny’

 4   the Trustee’s allegations. There is no other option.” The Trustee’s statement is explicitly refuted by

 5   Rule 8, as well as her own footnote 49 citing case law acknowledging that a defendant has three

 6   options: it may admit, deny, or lack information to form a sufficient belief.

 7           Here, Defendants’ Answer acknowledges that they received certain payments from the

 8   Debtors during the alleged time frames. However, Defendants are not required at the pleading stage

 9   to have the knowledge sufficient to admit the exact dollar amount to the penny of any transfers

10   received. Rather, the Defendants are entitled to wade into the discovery process before determining

11   the exact amounts of any alleged transfers that they may have received during the time periods at

12   issue. Therefore, the Trustee’s request to deem Defendants’ responses inadequate should be denied.

13                                                CONCLUSION

14           For the reasons set forth above, Defendants request that this Court deny the Trustee’s Motion
15   to Strike.
16           Dated this 28th day of July, 2022.
17                                                 FOX ROTHSCHILD LLP
18

19
                                                   /s/ Mark J. Connot
20                                                 MARK J. CONNOT (10010)
                                                   COLLEEN E. McCARTY (13186)
21                                                 1980 Festival Plaza Drive, Suite 700
                                                   Las Vegas, Nevada 89135
22                                                 Telephone:     (702) 262-6899
                                                   Facsimile:     (702) 597-5503
23                                                 Attorneys for Ahern Rentals, Inc.
                                                   and Xtreme Manufacturing, LLC
24

25

26

27

28
                                                        8
     136280593
        Case 22-05001-gs       Doc 38    Entered 07/28/22 11:33:20        Page 9 of 9



                                      CERTIFICATE OF SERVICE
 1
            I hereby certify that on the 28th day of July, 2022, a true and correct copy of the foregoing
 2
     DEFENDANTS’ RESPONSE TO TRUSTEE’S MOTION TO STRIKE DEFENDANTS’ (1)
 3
     JURY TRIAL DEMAND; (2) NON-CONSENT TO FINAL ORDERS AND JUDGMENTS; (3)
 4
     REQUEST FOR FEES AND COSTS; (4) CERTAIN AFFIRMATIVE DEFENSES; AND (5)
 5
     CERTAIN INADEQUATE RESPONSES [DEFENDANTS’ ANSWER ECF NO. 29] was served
 6
     via:
 7
            :      (ELECTRONIC SERVICE) Pursuant to Administrative Order 02-1 (Rev. 8-31-04) of
 8
     the United States Bankruptcy Court for the District of Nevada, the above-referenced document was
 9
     electronically filed on the date noted above and served through the Notice of Electronic Filing
10
     automatically generated to all registered users via the Court’s CM/ECF System as set forth below:
11
            ALEXANDER E. BRODY on behalf of Plaintiff CHRISTINA W. LOVATO
12          abrody@melandbudwick.com
            tannenbaum@melandbudwick.com
13          ltannenbaum@ecf.courtdrive.com
            mrbnefs@yahoo.com
14
            MICHAEL S. BUDWICK on behalf of Plaintiff CHRISTINA W. LOVATO
15          mbudwick@melandbudwick.com
            ltannenbaum@melandbudwick.com
16          ltannenbaum@ecf.courtdrive.com
17          SOLOMON B. GENET on behalf of Plaintiff CHRISTINA W. LOVATO
            sgenet@melandbudwick.com
18          ltannenbaum@melandbudwick.com
            ltannenbaum@ecf.courtdrive.com
19
            JEFFREY L HARTMAN on behalf of Plaintiff CHRISTINA W. LOVATO
20          notices@bankruptcyreno.com
            abg@bankruptcyreno.com
21
            CHRISTINA W. LOVATO
22          trusteelovato@att.net
            NV26@ecfcbis.com
23

24                                                        /s/ Doreen Loffredo
                                                          An Employee of Fox Rothschild LLP
25

26

27

28
                                                      9
     136280593
